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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                        )
                             v.                                   )
              DAMON MICHAEL BECKLEY                               )      Case No.
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     01/06/2021                in the county of                                    in the
                       District of           Columbia         , the defendant(s) violated:

            Code Section                                                    Offense Description

            18 U.S.C. § 1752(a)                 (Unlawful Entry of a Restricted Building)
            40 U.S. C. § 5104(e)(2)             (Disorderly Conduct on Capitol Grounds)




         This criminal complaint is based on these facts:
See attached affidavit.




         u Continued on the attached sheet.



                                                                                             Complainant’s signature

                                                                                    Sean P. Millett, Special Agent - FBI
                                                                                              Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone.                                                                                                Robin M. Meriweather
                                                                                                          2021.01.14 18:29:17 -05'00'
Date:             01/14/2021
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                 Robin M. Meriweather, United States Magistrate Judge
                                                                                              Printed name and title
